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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


SHOWNEEN HALL,                              JUDGMENT IN A CIVIL CASE

                    Plaintiff,              Case No. 2:18-cv-00721-DN
v.
                                            District Judge David Nuffer
MYHERITAGE LTD. and MYHERITAGE
(USA) INC.,

                     Defendants.


     IT IS HEREBY ORDERED that Plaintiff’s action is dismissed with prejudice.

     Signed December 6, 2018

                                                    BY THE COURT:



                                                    David Nuffer
                                                    United States District Judge
